                               August 28, 2009


Mr. James E. Doyle
Doyle Restrepo Harvin &amp; Robbins, L.L.P.
600 Travis, Suite 4700
Houston, TX 77002
Ms. Jennifer H. Davidow
Vinson &amp; Elkins LLP
1001 Fannin, Suite 2500
Houston, TX 77002-6760

RE:   Case Number:  07-0783
      Court of Appeals Number:  01-04-00228-CV
      Trial Court Number:  2002-14343

Style:      IRVING W. MARKS
      v.
      ST. LUKE'S EPISCOPAL HOSPITAL

Dear Counsel:

      Today the Supreme Court of Texas issued opinions the  above-referenced
cause.     You    may    obtain    a    copy    of    the    opinions    at:
http://www.supreme.courts.state.tx.us/historical/recent.asp.  If  you  would
like  the   opinions   by   email,   please   contact   Claudia   Jenks   at
claudia.jenks@courts.state.tx.us or call (512)463-1312 ext. 41367.


                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Jessica Hamby, Deputy Clerk
Enclosure
|cc:|Ms. M. Karinne         |
|   |McCullough             |
|   |Ms. Theresa Chang      |

